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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                                     CRIMINAL ACTION NO. 3:08CR74-P-A

KEIDRICK LIVINGSTON and
CRAIG ROEBUCK,                                                                 DEFENDANTS.

                                 ORDER CONTINUING TRIAL

       This matter comes before the court upon Defendant’s Motion for Continuance [35]. After

due consideration of the motion, the court finds as follows, to-wit:

       Trial is currently set for November 3, 2008. Defense counsel requests a continuance to afford

more time to meet with the defendant, complete inspection of discovery material, prepare any

necessary pretrial motions, and to engage in plea negotiations.

       The Government has no objection to the continuance.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from November 3, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial. The time

is also excludable as to Defendant Roebuck’s co-defendant, Keidrick Livingston, pursuant to 18

U.S.C. section 3161(h)(7) because the period of delay is reasonable and no motion for severance has

been granted.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

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       (1) Defendant’s Motion for Continuance [35] is GRANTED;

       (2) Trial of this matter is continued as to both defendants until Monday, December 1, 2008

at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from November 3, 2008 to December 1, 2008 is excluded from Speedy Trial

Act considerations as set out above;

       (4) The deadline for filing pretrial motions is November 10, 2008; and

       (5) The deadline for submitting a plea agreement is November 17, 2008.

       SO ORDERED this the 28th day of October, A.D., 2008.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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